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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                   Southern Division


UNITED STATES OF AMERICA,                        *

       Plaintiff,                                *
v.                                                           Case No.: GJH-15-393
                                                 *
SYLVIA PRICE,

       Defendant.                                *

*      *       *      *       *       *      *       *       *      *       *       *        *

                          MEMORANDUM OPINION AND ORDER

       Defendant Sylvia Price is currently in the custody of the Federal Bureau of Prisons

serving a 75-month sentence for conspiracy to participate in a racketeering enterprise and

aggravated identity theft. Pending before the Court is Ms. Price’s Emergency Motion for

Reduction of Sentence Due to Immediate Threat Posed by COVID-19 Pandemic. ECF No. 639.

No hearing is necessary. See Loc. R. 105.6 (D. Md. 2018). For the reasons that follow, Ms.

Price’s Emergency Motion is denied.

I.     BACKGROUND

       On July 13, 2015, Ms. Price was indicted, along with numerous other defendants, with

conspiracy to participate in a racketeering enterprise, in violation of 18 U.S.C. § 1962(d). ECF

No. 1. On August 15, 2016, a Superseding Information was filed charging Ms. Price with

conspiracy to participate in a racketeering enterprise, in violation of 18 U.S.C. § 1962(d) (Count

One), and aggravated identity theft, in violation of 18 U.S.C. § 1028A (Count Two). ECF No.

270. On August 22, 2016, pursuant to a plea agreement, Ms. Price pleaded guilty to both counts

in the Superseding Information. ECF No. 278. On December 22, 2016, she was sentenced to 51



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months on Count One and a consecutive 24 months on Count Two, for a total of 75 months’

imprisonment. ECF No. 368.

        On March 31, 2020, Ms. Price filed the pending Emergency Motion for Reduction of

Sentence Due to Immediate Threat Posed by COVID-19 Pandemic. ECF No. 639. The

Government filed a response on April 6, 2020. ECF No. 641.

II.     DISCUSSION

        Pursuant to Rule 35 of the Federal Rules of Criminal Procedure, Ms. Price asks the Court

to reduce her sentence and release her from custody due to the danger posed by the current

COVID-19 pandemic, citing the virus’ rate of infection and death, the difficulties faced by

individuals who are incarcerated in preventing the spread of the virus, and Ms. Price’s age and

health history. The Court “recognize[s] the unprecedented magnitude of the COVID-19

pandemic.” United States v. Martin, No. PWG-19-140-14, ECF No. 209 at 4 (D. Md. Mar. 17,

2020).1 Virtually every sector of public life has been affected, and experts tell us that the rate of

infections has yet to peak in the United States. See United States v. Williams, No. PWG-13-544,

ECF No. 94 at 3 (D. Md. Mar. 24, 2020). The Court certainly has concern for all individuals

inside and outside of custody as we all grapple with COVID-19.

        But as concerning as the COVID-19 pandemic is, the Fourth Circuit has been clear that a

court is without authority to modify a sentence except in conformity with the specific

circumstances and procedures established by 18 U.S.C. § 3582(c). See United States v.

Goodwyn, 596 F.3d 233, 235 (4th Cir. 2010) (stating that a court “may not modify a term of

imprisonment once it has been imposed” unless expressly permitted by statute); see also United

States v. Cunningham, 554 F.3d 703, 708 (7th Cir. 2009) (“[T]here is no ‘inherent authority’ for


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 Pin cites to documents filed on the Court’s electronic filing system (CM/ECF) refer to the page numbers generated
by that system.

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a district court to modify a sentence as it pleases; indeed a district court’s discretion to modify a

sentence is an exception to [§ 3582’s] general rule [barring modification].”).

         Section 3582(c) provides that a court “may not modify a term of imprisonment once it

has been imposed,” except under certain limited circumstances. These circumstances include

where “extraordinary and compelling reasons warrant such a reduction” or where modification is

“expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal Procedure.” 18

U.S.C. §§ 3582(c)(1)(A)(i), (B).2 Where a court modifies a sentence based on “extraordinary and

compelling reasons,” it can only do so “upon motion of the Director of the Bureau of Prisons, or

upon motion of the defendant after the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse

of 30 days from the receipt of such a request by the warden of the defendant’s facility.” Id. §

3582(c)(1)(A). “The exhaustion requirements of § 3582(c) are jurisdictional in nature,” and the

Court may not waive them. United States v. Johnson, No. RDB-14-441, ECF No. 192 at 5 (D.

Md. Apr. 3, 2020).

         Here, the Court finds that it does not have authority to reduce Ms. Price’s sentence at this

time. Although the COVID-19 pandemic could be an “extraordinary and compelling reason” to

modify a sentence under certain circumstances, Ms. Price has not shown that she has exhausted

her administrative remedies by appealing the Bureau of Prison’s failure to bring a motion on her

behalf or that the thirty-day statutory waiting period has passed since she submitted such a

request to the warden of her facility. See 18 U.S.C. § 3582(c)(1)(A). “Until these requirements




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  A court may also modify a sentence where relevant changes in the sentencing guidelines occurred subsequent to
the defendant’s sentencing or where, subject to administrative exhaustion requirements, the defendant is at least 70
years old, has served at least 30 years in prison, and is not a danger to the community. See 18 U.S.C. §§
3582(c)(1)(A)(ii), (2). Neither of these circumstances are applicable here.

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are satisfied, this Court lacks jurisdiction to entertain [Ms. Price’s] motion.” Johnson, No. RDB-

14-1441, ECF No. 192 at 12–13.

         Nor is Ms. Price’s Motion “expressly permitted by statute or by Rule 35 of the Federal

Rules of Criminal Procedure.” First, Ms. Price has not identified any relevant statute that might

authorize her release. She has also failed to demonstrate that her Motion is intended to correct a

clear error “[w]ithin 14 days of sentencing,” see Fed. R. Crim. P. 35(a), and the Motion is not

one made by the Government to reduce Ms. Price’s sentence based on substantial assistance, see

Fed. R. Crim. P. 35(b) (providing that a court may correct or reduce a sentence upon motion by

the government at any time where the defendant has provided substantial assistance in

investigating or prosecuting another person). Section 3582(c) therefore does not provide a basis

for reducing Ms. Price’s sentence, so her Emergency Motion must be denied. 3

III.     CONCLUSION

         For the foregoing reasons, it is ordered by the United States District Court for the District

of Maryland that Ms. Price’s Emergency Motion for Reduction of Sentence Due to Immediate

Threat Posed by COVID-19 Pandemic, ECF No. 639, is DENIED.


Date: April        7, 2020                                                _/s/_________________________
                                                                          GEORGE J. HAZEL
                                                                          United States District Judge




3
  Ms. Price contends that her continued imprisonment during the COVID-19 pandemic violates the Eighth
Amendment. COVID-19 is a global pandemic that all citizens of the world are struggling to combat. Given all of the
information that is currently available, there is no reason for the Court to believe that the facility where Ms. Price is
currently incarcerated is not taking reasonable precautions to prevent spread within the facility nor is there reason to
believe that Ms. Price would not be provided with appropriate medical care if she were unfortunate enough to join
the hundreds of thousands of people who have been inflicted with this virus.

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